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                               UNITED STATES DISTRICT
                              COURT FOR THE DISTRICT OF
                                  MASSACHUSETTS



PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,


                          Plaintiff,
          v.

                                                     Case No. 1:25-cv-11472-ADB
UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,


                          Defendants.




                             DEFENDANTS’ STATUS REPORT

       Defendants submit this status report in response to the Court’s order “to file a status report

within 72 hours of entry of this Order describing the steps taken to ensure compliance with this

Order and certifying compliance with its requirements.” ECF 73 ¶ H.

       Defendants are complying with the Court’s preliminary injunction order. Soon after the

Court entered a temporary restraining order (ECF 11), Defendants directed employees and

supervisors with responsibility for Student and Exchange Visitor Program (“SEVP”) certification,

Student and Exchange Visitor Information System (“SEVIS”) access, and related visas to comply

with the TRO. Since then, Defendants have not revoked existing, or denied applications for, F or

J visas for Harvard students based on the revocation of Harvard’s SEVP certification and Exchange

Visitor Program designation. Defendants have not otherwise attempted to revoke Harvard’s SEVP

certification, SEVIS access, or Exchange Visitor Program designation outside of the procedures
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laid out in 8 C.F.R. §§ 214.3 and 214.4 and 22 C.F.R. Part 62. After the May 28, 2025, Notice of

Intent to Withdraw (“NOIW”), issued by ICE, Defendants made clear that Harvard’s SEVP

certification was not currently revoked.

       Defendants have drafted guidance since the Court entered the preliminary injunction on

June 20, 2025. ECF 73. This guidance informs employees and supervisors responsible for SEVP

certifications, SEVIS access, Exchange Visitor Program designation, and F and J visas of the

preliminary injunction and to comply with its terms. Defendants have also made clear that any

future revocations of Harvard’s SEVP certification, SEVIS access, or Exchange Visitor Program

designation must be done through the regulatory procedures under C.F.R. §§ 214.3 and 214.4 or

in 22 C.F.R. Part 62.

       In particular, the Department of State is issuing additional guidance today to all consulates,

embassies, field offices, and others with responsibility for F and J visas that determinations that a

visa holder has failed to maintain nonimmigrant status or decisions to take any adverse action with

respect to a visa applicant or holder cannot be based on the May 22, 2025 revocation of Harvard’s

SEVP certification or Exchange Visitor Program designation. The Department of Homeland

Security’s relevant components (ICE, CBP, and USCIS) have issued guidance to their employees,

including at field offices and ports of entry, to ensure no one is removed, has adverse visa

determination, or is denied admission based on the revocation of Harvard’s SEVP certification and

Exchange Visitor Program designation. DHS is currently reviewing Harvard’s SEVP compliance

through the procedures in 8 C.F.R. §§ 214.3 and 214.4.




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Dated: June 23, 2025               Respectfully submitted,

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                                   s/ Tiberius T. Davis
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                                 CERTIFICATE OF SERVICE

        I, Tiberius Davis, hereby certify that I served a true copy of the above document upon all

counsel of record via this court’s electronic filing system and upon any non-registered participants

via first class mail.


Dated: June 23, 2025                          /s/ Tiberius Davis
                                              TIBERIUS DAVIS
                                              Counsel to the Assistant Attorney General




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